                           DECISION OF DISMISSAL
This matter is before the court on Defendant's motion to dismiss (motion), 1 on the ground that Plaintiffs failed to appeal within the 90 days required by ORS 305.280(2).
A case management conference was held February 3, 2010. Plaintiffs appeared on their own behalf. Debbie Smith, Tax Auditor, appeared on behalf of Defendant.
The parties and the court reviewed Defendant's Answer. Defendant's Answer states that the Notices of Deficiency Assessments were issued to Plaintiffs on September 4, 2009. The Complaint was postmarked December 4, 2009. That interval is longer than the 90 days required by ORS305.280(2) (2007), which provides:
    "An appeal under ORS 323.416 or 323.623 or from any notice of assessment or refund denial issued by the Department of Revenue with respect to a tax imposed under ORS chapter 118, 308, 308A, 310, 314, 316, 317,  318, 321 or this chapter, or collected pursuant to ORS  305.620, shall be filed within 90 days after the date of the notice. An appeal from a proposed adjustment under ORS 305.270 shall be filed within 90 days after the date the notice of adjustment is final."
The court is not aware of any circumstances that extend the statutory limit of 90 days. Defendant's motion is granted. *Page 2 
Plaintiffs will contact Defendant to discuss the appeal alternatives outlined in Defendant's Answer. Now therefore,
IT IS THE DECISION OF THIS COURT that Defendant's motion to dismiss is allowed. The Complaint is dismissed.
Dated this ___ day of February 2010.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner onFebruary 8, 2010. The Court filed and entered this document on February8, 2010.
1 Filed in its Answer on January 7, 2010. *Page 1 